   Case 4:14-cv-00539-O Document 52 Filed 04/10/15                Page 1 of 2 PageID 533



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION
                         _____________________________________


FREDRIC RUSSELL MANCE, JR. et al.,

VS.                                                 Civil Action No. 4:14-CV-00539-O

ERIC HOLDER, ATTORNEY GENERAL
OF THE UNITED STATES, and B. TODD
JONES, DIRECTOR, BUREAU OF
ALCOHOL, TOBACCO, FIREARMS &
EXPLOSIVES


                                    NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendants Eric Holder, Attorney General of the United

States, and B. Todd Jones, Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives,

hereby appeal to the United States Court of Appeals for the Fifth Circuit from the Court’s

Memorandum Opinion and Order and Final Judgment entered on February 11, 2015 [ECF Nos.

40, 41].

Dated: April 10, 2015                                       Respectfully submitted,

                                                            BENJAMIN C. MIZER
                                                            Acting Assistant Attorney General

                                                            JOHN R. PARKER
                                                            Acting United States Attorney

                                                             /s/ Daniel Riess
                                                            JOHN TYLER
                                                            Assistant Branch Director
                                                            DANIEL RIESS
                                                            Trial Attorney
                                                            U.S. Department of Justice
                                                            Civil Division, Rm. 6122
                                                            20 Massachusetts Avenue, NW
                                                            Washington, D.C. 20530
                                                1
   Case 4:14-cv-00539-O Document 52 Filed 04/10/15                  Page 2 of 2 PageID 534



                                                              Telephone: (202) 353-3098
                                                              Fax: (202) 616-8460
                                                              Email: Daniel.Riess@usdoj.gov
                                                              Attorneys for Defendants




                                 CERTIFICATE OF SERVICE

        On April 10, 2015, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing

system of the court. I hereby certify that I have served all parties electronically or by another

manner authorized by Federal Rule of Civil Procedure 5(b)(2) or the local rules.


                                                               /s/ Daniel Riess
                                                              Daniel Riess




                                                  2
